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                  IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF COLUMBIA

                                          )
 UNITED STATES OF AMERICA,                )
                                          )      Case No. 1:22-cv-02292-CKK-GMH
                 v.                       )
                                          )
      PETER K. NAVARRO,                   )
                                          )
            Defendant.                    )
                                          )

                               [PROPOSED] ORDER

   Upon consideration of Dr. Navarro’s Motion, it is this ___ day of _______, 2025, hereby:

   ORDERED that the Motion is GRANTED.



   SO ORDERED.




                                              The Honorable Colleen Kollar-Kotelly
                                                United States District Court Judge
